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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------- x
REIFEL,                                                               :
                                                                      :             10/20/2020
                                            Plaintiff,                :
                                                                      :   1:20-cv-05366-ALC
                 -against-                                            :   ORDER
                                                                      :
COMMISSIONER OF SOCIAL SECURITY,                                      :
                                                                      :
                                            Defendant.                :
                                                                      :
--------------------------------------------------------------------- x
ANDREW L. CARTER, JR., District Judge:

         The parties are ordered to file a joint status report by November 4, 2020.

SO ORDERED.
Dated:   New York, New York
         October 20, 2020

                                                     ____________________________________
                                                           ANDREW L. CARTER, JR.
                                                           United States District Judge




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